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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

ROBERT (BOB) ROSS,                           §
                                             §
    Plaintiff/Counterclaim Defendant,        §
                                             §
v.                                           §       Civil Action No. 4:22-CV-00343-Y
                                             §
ASSOCIATION OF PROFESSIONAL                  §
FLIGHT ATTENDANTS,                           §
MCGAUGHEY, REBER AND                         §
ASSOCIATES, INC., JULIE                      §
HEDRICK, AND ERIK HARRIS,                    §
                                             §
    Defendants/Counterclaim Plaintiff.       §

      MOTION FOR SUMMARY JUDGMENT BY DEFENDANT COUNTERCLAIM
                   PLAINTIFF APFA FOR ENFORCEMENT
              OF THE ARBITRATOR’S DECISIONS IN THIS CASE

         Defendant Counterclaim Plaintiff Association of Professional Flight Attendants

(“APFA”), by its undersigned counsel, pursuant to Federal Rule of Civil Procedure 56, and Local

Rules 7.1 and 56, hereby moves for summary judgment on its Counterclaim1 by confirming and

enforcing the Decisions of the Arbitrator against Plaintiff Counterclaim Defendant Robert Ross

(“Ross”) at issue in this case.

                                      SUMMARY

         As shown in the accompanying Brief in Support of Summary Judgment,2 there is no




1
 See APFA’s Counterclaim for enforcement of the Arbitrator’s Decisions against Defendant
Ross and for other relief. Doc. 8 at PageID 107-117.
2
 Also pending before the Court is the Union Defendants’ Motion to Dismiss Ross’s Complaint
seeking to vacate the Arbitrator’s Decisions in this case. (doc. 27). This motion will be fully
briefed and ripe for decision after the Union Defendants file their reply to Ross’s response on or
before October 5, 2022, as required by this Court’s Order of September 15, 2022. (doc. 40). (The
Union Defendants previously filed a reply (doc. 34) on August 18, 2022 to a response filed by
Ross, which response was thereafter un-filed by the Court).
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genuine issue of material fact as to APFA’s Counterclaim and, under Section 301(a) of the

LMRA, 29 U.S.C. §185(a), APFA is entitled to judicial deference to, and enforcement of the

Arbitrator’s Decisions as a matter of law.

       In accordance with LR 56.3(a) and (b) and LR 56.5(a), and this Court’s requirements for

motions for summary judgement, the elements of each claim as to which summary judgement is

sought are stated under the heading “Summary” on the second page of the accompanying Brief

in Support of Summary Judgment, followed by the “Statement of the Case” and the statement od

“Undisputed Material Facts” and the ”Argument” and citation to the legal authorities relied on in

support of the grant of summary judgment.

       In accordance with this Court’s requirements, on the first page of the Brief, in a separate

section under the heading "Identification of Live Pleadings,” the live pleadings for each party

who has appeared in this action are identified and listed by date and docket number.,

       In accordance with LR 56.5(c) and LR 56.5 the materials in the record relied on in

support of the grant of summary judgement are included in a separate, contemporaneously filed

Appendix, the consecutively numbered pages of which are cited to in the Brief by the

abbreviation “App.” followed by the relevant page number(s) of the Appendix materials. The

pertinent passages cited to are either underlined or bracketed in the margin.

       WHEREFORE, for the reasons set forth above and in its Brief and Appendix in Support

of its Motion for Summary Judgment, AFPA urges the Court to grant summary judgment in its




This Motion for Summary Judgment, if granted enforcing the Arbitrator’s Decisions, will also
effectively resolve and dispose of APFA’s Counterclaim against Ross for breach of fiduciary
duty for engaging in the same misconduct addressed by the Arbitrator (doc. 8 at PageID 116-
117), entitling the Union Defendants to entry of Final Judgement in their favor on all claims and
defenses as between Plaintiff Ross and the Union Defendants. The same is true for the
companion case of Vargas v. APFA et al.. CA No. 4-22-430-Y.
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favor on its Counterclaim to confirm and enforce the Arbitrator’s Decisions against Ross and to

order Ross to comply with the Arbitrator’s Decisions in all respects.



Date: September 20, 2022                     Respectfully Submitted,


                                               /s/ Sanford R. Denison
                                             SANFORD R. DENISON
                                             Tex. Bar No. 05655560
                                             Baab & Denison, LLP
                                             6301 Gaston Ave., Suite 550
                                             Dallas, TX 75214
                                             Tel.: (214) 637-0750; Fax.: (214) 637-0730
                                             Email: denison@baabdenison.com

                                             WILLIAM W. OSBORNE JR.*
                                             D.C. Bar No. 912089
                                             Osborne Law Offices P.C.
                                             5335 Wisconsin Avenue N.W., Suite 440
                                             Washington, D.C. 20015
                                             Tel.: (202) 243-3200; Fax: (202) 686-2977
                                             Email: b.osborne@osbornelaw.com

                                             Counsel for Defendant Counterclaim Plaintiff
                                             Association of Professional Flight Attendants, and
                                             Defendants Julie Hedrick and Erik Harris

                                             *Admitted Pro Hac Vice
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                               CERTIFICATE OF SERVICE


       I certify that on this 20th day of September 2022 a true and correct copy of the foregoing
document was served on the below listed counsel of record for Plaintiff/Counterclaim Defendant
Ross by a means permitted by Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

       KERRI PHILLIPS
       HEATHER ABREU
       K.D. Phillips Law Firm, PLLC
       5700 Tennyson Parkway, Suite 300
       Plano, Texas 75024
       Phone: (972) 327-5800
       Fax: (940) 400-0089
       Email: kerri@KDphillipslaw.com
       Email: Heather@KDphillipslaw.com

       MICHAEL R RAKE
       Michael R. Rake, Attorney at Law
       PO Box 1556
       Lake Dallas, TX 75065
       Tel.: (940) 498-2103
       Fax: (940) 498-2103
       Email: mrake1@mrakeattorney.com

                                             /s/ Sanford R. Denison
                                            SANFORD R. DENISON
